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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

SOPHIA VAZQUEZ,                                     Civil Action File No.
                                                    5:21-CV-00098-MTT
            Plaintiff,
v.

WAL-MART INC. AND JOHN DOES 1-5,

            Defendants.
                                                       /

                 ANSWER OF DEFENDANT WAL-MART INC.

      COMES NOW, Defendant WAL-MART INC. (erroneously named) and

makes this Answer to Plaintiff's Complaint as follows:

                                 FIRST DEFENSE

      Wal-Mart Inc. is not the proper defendant.

                               SECOND DEFENSE

      Jurisdiction is not proper as to Wal-Mart Inc.

                                THIRD DEFENSE

      Venue is not proper as to Wal-Mart Inc.

                               FOURTH DEFENSE

      Plaintiff has failed to join an indispensable party.
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                                 FIFTH DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which

relief can be granted.

                                 SIXTH DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                               SEVENTH DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.

                                EIGHTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that

any negligent act or omission on its part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                NINTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                TENTH DEFENSE

      This action is improperly brought in the name of a minor.
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                             ELEVENTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                     1.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 1 of Plaintiff's Complaint.

                                     2.

      Defendant admits the allegations contained in paragraph 2 of the Plaintiff's

Complaint.

                                     3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint and shows that Wal-Mart Inc. is not the proper Defendant.

                                          4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint.

                                          5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint.
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                                        6.

      Defendant denies the allegations contained in paragraph 6 of the Plaintiff's

Complaint.

                                        7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint, including subparagraphs (a), (b), (h) and (i) thereof.

                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                        9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's

Complaint, including subparagraphs (a), (b), (c) and (d) thereof.

                                        10.

      Defendant denies the allegations contained in paragraph 10 of the

Plaintiff's Complaint.

                                        11.

      Defendant denies the allegations contained in paragraph 11 of the

Plaintiff's Complaint.
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                                             12.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                             13.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs (a),

(b), (c), (d), (e), (f), and (g) thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed

with prejudice with all costs cast upon the Plaintiff. DEFENDANT DEMANDS

TRIAL BY A JURY OF TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.

                                            McLAIN & MERRITT, P.C.

                                            /s/ Ernest L.Beaton, IV
                                            GA Bar No. 213044
                                            Attorney for Defendant
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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART INC. this day been filed and served upon opposing

counsel via email via the Court’s ECF filing system.

      This the   22nd     day of April, 2021.

                                      McLAIN & MERRITT, P.C.

                                      /s/ Ernest L.Beaton, IV
                                      GA Bar No. 213044
                                      Attorney for Defendant
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